     Case: 1:21-cv-04976 Document #: 82 Filed: 08/07/24 Page 1 of 1 PageID #:884

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

G.T., et al.
                                         Plaintiff,
v.                                                       Case No.: 1:21−cv−04976
                                                         Honorable Lindsay C. Jenkins
Samsung Electronics America, Inc.
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 7, 2024:


        MINUTE entry before the Honorable Lindsay C. Jenkins: Plaintiff's motion for an
extension of time [81] is granted in part. Any amended complaint is due by August 21,
2024. Defendant's responsive pleading, which everyone expects to be a motion to dismiss,
is due by September 3, 2024; any response is due by September 17, 2024 and replies are
due by September 24, 2024. Mailed notice (maf)




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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